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                         IN THE UNITED STATES DISTRICT COURT
8
                               FOR THE DISTRICT OF ARIZONA
9
     United States of America,                    No. CR-18-422-PHX-SMB
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                               Plaintiff,         ORDER GRANTING MOTION TO
11
                                                  EXTEND DEADLINE AND PAGE-
12      v.                                        LIMIT FOR REPLY TO RESPONSE TO
                                                  DEFENDANTS’ MOTION TO
13   Michael Lacey, et al.,                       DISMISS INDICTMENT
14                             Defendants.         (Second Request for Extension of Time)
15

16            Based on Defendants’ Motion to Extend Deadline and Page Limit for Reply
17   to Response to Defendants’ Motion to Dismiss Indictment, and good cause appearing,
18            IT IS HEREBY ORDERED granting the motion and extending the deadline for
19   Defendants to reply to the Government’s Response to Motion to Dismiss Indictment
20   (Doc. 634) to July 17, 2019, and allowing Defendants no more than 30 pages for their
21   reply.
22            IT IS HEREBY ORDERED that the Motion is GRANTED.
23            Excludable delay under 18 U.S.C. § 3161(h) may occur as a result of this motion
24   or an order based thereon.
25            DATED this          day of               , 20      .
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27                                                    HON. SUSAN M. BRNOVICH
                                                         United States District Judge
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